
His Honor, EMILE GODCHAUX,
rendered the opinion and decree of the Court, as follows:
The character of these proceedings and the question presented are the same as those involved in the case of State, ex rel., C. Centani vs. L, H. Marrero, Jr., District Attorney, No. 6512 of our docket, this day decided, and the opinion and ruling in that case are controlling here.
It is accordingly ordered, adjudged and decreed that the judgment appealed from be annulled, avoided and re*199versed, and that relator’s suit be dismissed at his costs in both Courts.
Opinion and decree, November 9th, 1915.
Rehearing granted, November 24th, 1915.
Opinion and decree, December 20th, 1915.
Reversed.
